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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

   GHASEM ATASHKHANEH,

        Plaintiff,

   v.                               Case No.: 8:19-cv-1133-T-33SPF

   SAM’S EAST, INC.,

        Defendant.
                                         /

                                   ORDER

        This cause comes before the Court sua sponte. For the

   reasons that follow, this case is remanded to state court for

   lack of subject matter jurisdiction.

   I.   Background

        Plaintiff    Ghasem   Atashkhaneh    initiated   this   Florida

   Civil Rights Act (FCRA) action in state court on March 12,

   2019, alleging race, national origin, and age discrimination

   as well as retaliation against his employer, Defendant Sam’s

   East, Inc. (Doc. # 1-3). Sam’s East removed the case to this

   Court on May 10, 2019. (Doc. # 1).

        That same day, the Court entered an Order (Doc. # 5)

   explaining that it was not convinced that the amount in

   controversy requirement had been satisfied by a preponderance




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   of the evidence. Sam’s East filed a response to the Court’s

   Order on May 20, 2019. (Doc. # 9).

   II.   Discussion

         “Federal     courts      have     limited    subject     matter

   jurisdiction.” Morrison v. Allstate Indem. Co., 228 F.3d

   1255, 1260–61 (11th Cir. 2000). Before delving into the merits

   of any case, this Court must determine “whether subject-

   matter jurisdiction exists, even in the absence of a challenge

   from any party.” Arbaugh v. Y&H Corp., 546 U.S. 500, 514

   (2006). Indeed, “it is well settled that a federal court is

   obligated to inquire into subject matter jurisdiction sua

   sponte whenever it may be lacking.” Univ. of S. Ala. v. Am.

   Tobacco Co., 168 F.3d 405, 410 (11th Cir. 1999). “Without

   jurisdiction     the   court   cannot    proceed   at   all   in   any

   cause.” Id.

         In removed cases, 28 U.S.C. § 1447(C) specifies: “If at

   any time before final judgment it appears that the district

   court lacks subject matter jurisdiction, the case shall be

   remanded.” “Any doubt as to propriety of removal should be

   resolved in favor of remand to state court.” Tauriga Scis.,

   Inc. v. ClearTrust, LLC, No. 8:14-cv-2545-T-33TBM, 2014 WL

   5502709, at *2 (M.D. Fla. Oct. 30, 2014)(citing Butler v.

   Polk, 592 F.2d 1293, 1296 (5th Cir. 1979)).


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          This action was removed to this Court on the basis of

   diversity jurisdiction. (Doc. # 1). When jurisdiction is

   premised upon diversity of citizenship, 28 U.S.C. § 1332(a)

   requires, among other things, that “the matter in controversy

   exceeds the sum or value of $75,000, exclusive of interests

   and costs.” If “the jurisdictional amount is not facially

   apparent from the complaint, the court should look to the

   notice of removal and may require evidence relevant to the

   amount in controversy at the time the case was removed.”

   Williams v. Best Buy Co., 269 F.3d 1316, 1319 (11th Cir.

   2001). When “damages are unspecified, the removing party

   bears the burden of establishing the jurisdictional amount by

   a preponderance of the evidence.” Lowery v. Ala. Power Co.,

   483 F.3d 1184, 1208 (11th Cir. 2007).

          The Complaint does not allege a specific amount of

   damages. (Doc. # 1-3 at 1). Instead, Sam’s East relies in

   part   on   a    pre-suit   demand   letter   demanding    $200,000   to

   establish that the amount in controversy exceeds the $75,000

   jurisdictional threshold. (Doc. # 1 at 7; Doc. # 9 at 1-2).

   But, as the Court explained in its May 10 Order, demand

   letters     do    not   automatically    establish   the    amount    in

   controversy. See Lamb v. State Farm Fire Mut. Auto. Ins. Co.,

   No. 3:10-cv-615-J-32JRK, 2010 WL 6790539, at *2 (M.D. Fla.


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   Nov. 5, 2010)(stating that demand letters and settlement

   offers   “do   not   automatically     establish    the   amount   in

   controversy for purposes of diversity jurisdiction”). Rather,

   courts evaluate whether demand letters “reflect puffing and

   posturing” or “whether they provide ‘specific information to

   support the plaintiff’s claim for damages.’” Id. (quoting

   Jackson v. Select Portfolio Servicing, Inc., 651 F. Supp. 2d

   1279, 1281 (S.D. Ala. 2009)).

        The Court has reviewed the pre-suit demand letter (Doc.

   # 6-2) and determined that the letter is mere puffery. While

   the letter summarizes the allegations of discrimination at

   length, it does not provide concrete information to support

   the $200,000 in damages demanded. Rather, the demand letter

   vaguely states that Atashkhaneh is “entitled to back pay,

   compensatory damages, including, but not limited to, damages

   for mental anguish, loss of dignity, and any other intangible

   injuries, and punitive damages.” (Id. at 6). Because the

   letter is mere puffery, the demand letter does not establish

   that the amount in controversy exceeds $75,000. See Jenkins

   v. Myers, No. 8:16–cv–344–T–17EAJ, 2016 WL 4059249, at *4

   (M.D. Fla. July 27, 2016)(stating a demand letter that appears

   to be mere puffery or an attempt at posturing “is insufficient




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   to prove by a preponderance of the evidence that the amount

   in controversy meets or exceeds $75,000”).

         Sam’s East also argues that the amount in controversy is

   met because Atashkhaneh’s back pay, compensatory damages for

   emotional distress, attorney’s fees, and punitive damages

   combined      exceed     $75,000.    (Doc.        #   9).   The    Court    is    not

   convinced     by    Sam’s   East’s       calculation        of    the    amount     in

   controversy. The Court does credit Sam’s East’s calculation

   of Atashkhaneh’s back pay, which is based on the difference

   in salary between Atashkhaneh’s current job with Sam’s East

   and     the   higher-paying        job       Atashkhaneh         alleges    he     was

   discriminatorily denied. (Id. at 3-4). Thus, Sam’s East has

   established     that     the   amount        in   controversy       is     at    least

   $25,673. (Id.). Yet, this amount falls far short of the

   $75,000 threshold.

         Regarding attorney’s fees, Sam’s East insists the Court

   should assume that Atashkhaneh’s attorney’s fees up to the

   time of removal are at least $4,500 — an estimated ten hours

   at $450 per hour. (Id. at 5-6). But Sam’s East is merely

   speculating and provides no information about the attorney’s

   fees Atashkhaneh actually incurred before removal. Thus, the

   Court    will      not   include    this       amount       in    the    amount     in

   controversy calculation.


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          And   the    Complaint       does          not       specify    the    amount    of

   compensatory       damages     sought             or    provide       details     on    the

   emotional distress Atashkhaneh suffered as a result of the

   alleged discrimination.             See       Mathew v. S & B Eng’rs and

   Constr., LTD., No. 8:08–cv–1801–T–33TGW, 2009 WL 249931 (M.D.

   Fla.    Jan.30,     2009)(holding             that          plaintiff’s       claim     for

   unspecified compensatory damages, her back pay damages of

   approximately       $66,000,       and        evidence         of     her    failure     to

   stipulate       regarding          the        jurisdictional             amount        were

   insufficient to establish the jurisdictional amount). And

   Sam’s    East      presented       no     additional            evidence       regarding

   Atashkhaneh’s specific emotional distress or suffering. (Doc.

   # 9 at 4-5). The Court is not persuaded that the other FCRA

   cases cited by Sam’s East establish that Atashkhaneh has

   actually suffered tens of thousands of dollars worth of

   emotional distress as a result of Sam’s East’s decision not

   to promote him. Cf. Bragg v. Suntrust Bank, No. 8:16-cv-139-

   T-33TBM,     2016     WL     836692,          at       *2    (M.D.     Fla.     Mar.    4,

   2016)(“SunTrust            cites         to        three         prior        employment

   discrimination cases in which plaintiffs were awarded damages

   in excess of $75,000 for mental anguish, [] but does not

   explain why that amount would be awarded in this case.”

   (emphasis original)).


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        Because the Complaint is devoid of allegations regarding

   Atashkhaneh’s    distress   and        Sam’s   East     failed     to      provide

   additional information about his distress, the Court cannot

   reasonably determine what amount of compensatory damages

   should be included in the amount in controversy. Cf. Golden

   v. Dodge-Markham Co., 1 F. Supp. 2d 1360, 1366 (M.D. Fla.

   1998)(“Compensatory damages are extremely nebulous. Making a

   general    blanket    statement    that,       if     Plaintiff       prevails,

   compensatory damages could certainly entitle him to thousands

   of dollars, does not rise to the levels of proving, by a

   preponderance of the evidence, that the amount in controversy

   exceeds    $75.000.00.”).   As     the       Court    warned      Sam’s     East,

   “nebulous    allegations    of    emotional          distress     .    .    .   are

   insufficient.” (Doc. # 5). Therefore, the Court will not

   include an amount of compensatory damages in its calculation.

        Finally, concerning punitive damages, Sam’s East again

   provides only speculation. Sam’s East argues that $25,000 in

   punitive    damages    should     be       included    in   the       amount    in

   controversy calculation. In support, Sam’s East cites to

   three FCRA cases in which juries awarded between $50,000 and

   $500,000 in punitive damages. (Doc. # 9 at 6-7). But Sam’s

   East does not discuss how those cases are analogous to this

   case. Furthermore, at least one of the cases cited involved


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   multiple    claims    under    multiple      different   statutes   —   a

   circumstance not present in this case. Thus, the Court is not

   convinced that $25,000 in punitive damages should be included

   in the Court’s amount in controversy calculation. Even if the

   Court were to add $25,000 in punitive damages to the $25,673

   in estimated back pay, the amount in controversy would still

   be less than $75,000.

         In short, the Court is not convinced by a preponderance

   of   the   evidence   that    the   amount    in   controversy   exceeds

   $75,000. Therefore, Sam’s East has not carried its burden of

   establishing this Court’s diversity jurisdiction. The Court,

   finding that it lacks subject matter jurisdiction, remands

   this case to state court.

         Accordingly, it is now

         ORDERED, ADJUDGED, and DECREED:

         Because the Court lacks subject matter jurisdiction, the

   Clerk is directed to REMAND this case to state court and,

   thereafter, CLOSE this case.

         DONE and ORDERED in Chambers in Tampa, Florida, this

   21st day of May, 2019.




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